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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 CASHMAN EQUIPMENT CORP,

       Plaintiff,

 v.                                             Case No. 3:23-cv-24427-TKW-HTC

 SKANSKA USA CIVIL
 SOUTHEAST INC,

      Defendant.
_________________________________/

                                  ORDER OF RECUSAL

      I recuse myself from this case for the same reasons that I recused myself from

the other cases involving Skanksa and the Pensacola Bay Bridge project. See 28

U.S.C. §455(a), (b)(1), (b)(5)(iii). Accordingly, it is ORDERED that the Clerk shall

reassign this case to another district judge.

      DONE and ORDERED this 18th day of September, 2023.




                                        __________________________________
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE
